     Case 2:22-mc-00060-SKV Document 1 Filed 07/13/22 Page 1 of 11




                                                 2:22-mc-00060-SKV




7/13/2022
        Case 2:22-mc-00060-SKV Document 1 Filed 07/13/22 Page 2 of 11




                                   ATTACHMENT A
   The Subject Devices, set forth in Attachment B, are currently stored in evidence at the

office of Homeland Security Investigations, Blaine, Washington, located at 1380

Commerce Place, Ferndale, Washington.




Attachment A - 2022R00716 - WDWA
        Case 2:22-mc-00060-SKV Document 1 Filed 07/13/22 Page 3 of 11




                                   ATTACHMENT B

                                    Subject Devices

   1. Apple iPhone 11 named “Ensight’s iPhone”

      Serial Number GV4DN3AFN735



   2. Apple iPad named “Dhruv’s iPad”

      Serial Number GG7CRFMNMF3Q

      IMEI 356809115582243



   3. Apple MacBook Pro

      Serial Number C1MN6DZHDTY3



   4. SanDisk branded 16GB thumb drive



   5. Unbranded USB 3.0 thumb drive




Attachment B - 2022R00716 - WDWA
        Case 2:22-mc-00060-SKV Document 1 Filed 07/13/22 Page 4 of 11




               AFFIDAVIT OF SPECIAL AGENT DYLAN CRITTEN
STATE OF WASHINGTON                 )
                                    )
COUNTY OF KING                      )

I, Dylan Critten, a Special Agent with Homeland Security Investigations (HSI), being duly

sworn, hereby depose and state as follows:

                               AFFIANT BACKGROUND
       I am a Special Agent with the Department of Homeland Security (DHS),

Immigration and Customs Enforcement (ICE), Homeland Security Investigations (HSI)

and have been since December 1, 2009. In my experience in federal law enforcement, I

have participated in and conducted numerous complex criminal investigations including

investigations of India-based call centers engaged in various telephone and email extortion

schemes. I received extensive instruction and training at the Federal Law Enforcement

Training Center (FLETC) relating to general investigative techniques, electronic

surveillance, rules of evidence and legal principles and statutes pertaining to criminal

violations of federal law, including but not limited to, U.S. customs and immigration

offenses, money laundering, currency violations, wire fraud, mail fraud, conspiracy and

document and benefit fraud.

       By virtue of my employment as a Special Agent, the federal crimes I am assigned

to investigate include, but are not limited to, violations of 18 U.S.C. § 371 (conspiracy), 18

U.S.C. § 1001 (false statements), 18 U.S.C. § 1028 (identity theft), 18 U.S.C. § 1028A

(aggravated identity theft), 18 U.S.C.§ 1343 (wire fraud), 18 U.S.C. § 1344 (bank fraud),

and 18 U.S.C. § 1956 (money laundering). As a Special Agent I am personally familiar
DEFENDANT’S MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT OF AMENDED MOTION
             Case 2:22-mc-00060-SKV Document 1 Filed 07/13/22 Page 5 of 11




 1 with and have used all normal methods of investigation, including, but not limited to, visual
 2
     surveillance, electronic surveillance, informant and witness interviews, interrogation, and
 3
     undercover operations. I have performed various tasks, which include, but are not limited
 4
 5 to: functioning as a surveillance agent; participating in the tracing of monies and assets
 6
     obtained by illicit activities within the United States and abroad; interviewing witnesses,
 7
     cooperating individuals and informants; functioning as a case agent; authoring and
 8
 9 executing Federal search warrants for evidence of crimes against the United States; and
10
     participation in the arrests of numerous individuals for violations of the United States Code.
11
                      INTRODUCTION AND PURPOSE OF AFFIDAVIT
12
            1.     The purpose of this Seizure Warrant is to take custody of the Subject
13
14 Devices, set forth in Attachment B, which were taken on June 23, 2022, from the person
15
     of Dhruv Jani, who is the charged defendant in United States v. Dhruv Jani, Case No. 22-
16
     cr-00202-RM filed in the United States District Court for the District of Colorado. The
17
18 subject devices are currently stored at Homeland Security Investigations (HSI) Blaine,
19
     Washington (located at 1380 Commerce Place, Ferndale, Washington) as described in
20
     Attachment A.
21
22                                     SUMMARY OF CASE
23          2.     Your affiant is assisting in the prosecution of a Call Center case originating
24 in India that has been charged in the District of Colorado, Case No. 22-cr-00202-RM.
25          In this scheme, victims are contacted by phone and coerced into believing that
26
     they are under investigation by “Agents” of the FBI, SSA, DHS, Treasury, or U.S. Drug
27
     Enforcement Administration (DEA). Often the victims are told that their arrest and/or
28

                                                   2
              Case 2:22-mc-00060-SKV Document 1 Filed 07/13/22 Page 6 of 11




 1 deportation from the United States had been ordered by law enforcement and is
 2
     imminent, and the only way to avoid arrest is to pay the “Government” large sums of
 3
     money as instructed.
 4
 5          In a typical scenario, the “Agent” informs a victim that their identity has been
 6
     connected to a criminal incident and instructs the victim to remain on the phone for the
 7
     duration of the call while the victim goes to the bank to withdraw cash (U.S. Currency).
 8
 9 The “Agent” then convinces the victim to package the cash in a specific manner and ship
10
     the cash to an alleged government official via Federal Express (FedEx) or United Parcel
11
     Service (UPS), both interstate commercial carriers. The victims are told their money
12
13 will remain in “trust” until the matter can be sorted out. The victims report that they
14
     believed they were speaking to legitimate U.S. Government officials and that paying the
15
     fees would alleviate their alleged criminal liability.
16
17          To date, the investigation has identified a number of individuals nationwide,
18
     referred to as “runners,” whose role in the scheme was to receive the cash sent from the
19
     defrauded victims. Three runners are the subject of this prosecution: Dhruv Jani
20
21 (“JANI”), an Indian national, James Albert Witte (“WITTE”), a U.S. Citizen, and Jason
22
     Lee Henderson (“HENDERSON”), a U.S. Citizen.
23
            At the time of the events described below, all three individuals were residing in
24
25 Colorado.
26
            On June 21, 2022, JANI was charged by indictment in the United States District
27
     Court, District of Colorado (Case No. 22-cr-00202-RM) with one count of conspiracy to
28

                                                   3
             Case 2:22-mc-00060-SKV Document 1 Filed 07/13/22 Page 7 of 11




 1 commit money laundering in violation of Title 18, United States Code, Sections 1956(h)
 2
     and (a)(1)(B)(i), five counts of money laundering in violation of Title 18, United States
 3
     Code, Section 1956((a)(1)(B)(i) (concealment), and one count of Interstate Transmission
 4
 5 of a Threatening Communication in violation of Title 18, United States Code, Section
 6
     875(c). WITTE and HENDERSON were not charged in this indictment for fear they
 7
     would tip JANI off prior to his arrival in the United States, detailed below. Charges
 8
 9 against WITTE and HENDERSON are imminent.
10
            Evidence shows that JANI coordinated the receipt and pickup of packages and
11
     operated in a management role overseeing WITTE and HENDERSON, who used various
12
13 fraudulent identity documents to receive the packages. JANI was involved in securing
14
     these fraudulent identity documents for WITTE and HENDERSON.
15
            Your affiant and other agents working this investigation have identified 54 victims
16
17 of this scheme who mailed packages totaling approximately $1.5 million in cash to
18
     Colorado. These victims provided the agents with the names of the “government agents”
19
     to whom they were directed to mail packages of cash, and the manner of shipping (FedEx
20
21 or UPS). The agents tracked down these packages as being delivered in almost all
22
     incidents to Walgreens stores in Northern Colorado (Sterling, Wray, Greeley, Loveland,
23
     Fort Collins, Fort Morgan, and a few in Denver). The agents then obtained video
24
25 surveillance from these stores and tied WITTE and HENDERSON to specific false
26
     identification cards used to pick up the packages.
27
            WITTE was detained in a traffic stop by Sterling Police Department, in Sterling,
28

                                                  4
                 Case 2:22-mc-00060-SKV Document 1 Filed 07/13/22 Page 8 of 11




 1 Colorado, on November 4, 2020, after a package shipped via UPS in relation to this
 2
     scheme was interdicted at the local UPS shipping hub. The package, which contained
 3
     U.S. Currency, was sent by a victim of the government impersonation scam from
 4
 5 University Place, Washington with the initials D.A.
 6
            During the stop, WITTE allowed the responding officers to view his WhatsApp
 7
     communication on his phone with an individual named ‘Kal Jani’ for whom WITTE
 8
 9 claimed to be picking up the package.
10
            The agents identified ‘Kal Jani’ as Dhruv Jani (“JANI”), a B1/B2 Non-Immigrant
11
     Visa holder from India. Further investigation confirmed JANI’s role in the scheme as
12
13 well as that of WITTE and HENDERSON.
14
            On November 11, 2020, one week after WITTE was detained, JANI took a flight
15
     to India.
16
17          Sterling PD dismissed its investigation in favor of this federal investigation.
18
                                    JANI’s return to the United States
19
            Apparently believing he had escaped the possibility of being charged by the state
20
21 for his role in this scheme, Jani decided to return to the United States and eventually to
22
     the District of Colorado in hopes of rekindling his marriage to a woman with the initials
23
     R.S. (the victim named in Count 7 of the indictment). On June 23, 2022, he presented at
24
25 the United States Port of Entry in Blaine, WA, after having flown from India to Canada,
26
     and traveled by bus from Vancouver to Blaine. He was arrested at that time pursuant to
27
     an arrest warrant issued out of the District of Colorado on June 21, 2022. His initial
28

                                                  5
              Case 2:22-mc-00060-SKV Document 1 Filed 07/13/22 Page 9 of 11




 1 appearance occurred that afternoon before the Honorable Magistrate Judge S. Kate
 2
     Vaughan in the United States District Court for the Western District of Washington. On
 3
     June 28, 2022, Jani stipulated to detention before the Honorable Magistrate Judge Brian
 4
 5 A. Tsuchida, was remanded to the custody of the US Marshal’s Service, and is currently
 6
     in transport to Denver, CO to face trial in this case.
 7
                                           Subject Devices
 8
 9          When JANI presented at the port of entry in Blaine, WA for inspection and entry
10
     into the United States from Canada, your affiant conducted a manual Customs border
11
     search for digital contraband on JANI’S electronic devices. These devices included the
12
13 following:
14
        1. Apple iPhone 11 named “Ensight’s iPhone”
15
            Serial Number GV4DN3AFN735
16
17
18
        2. Apple iPad named “Dhruv’s iPad”
19
            Serial Number GG7CRFMNMF3Q
20
21          IMEI 356809115582243
22
23
        3. Apple MacBook Pro
24
25          Serial Number C1MN6DZHDTY3
26
27
        4. SanDisk branded 16GB thumb drive
28

                                                   6
              Case 2:22-mc-00060-SKV Document 1 Filed 07/13/22 Page 10 of 11




 1        5. Unbranded USB 3.0 thumb drive
 2
            During the manual search for digital contraband, your affiant identified evidence
 3
     pertaining to multiple indicted fugitives and criminal call center conspirators known to
 4
 5 your affiant. The manual border search was terminated, and the digital devices were
 6
     seized as evidence of the instant offenses and stored in evidence at HSI Blaine,
 7
     Washington (1380 Commerce Place, Ferndale, Washington).
 8
 9        Your affiant seeks the instant seizure warrant in order to take possession of these
10
     devices currently stored in evidence at HSI Blaine and to transport them to the District of
11
     Colorado to be stored at HSI Denver (5445 DTC Parkway, Suite 600, Greenwood
12
13 Village, Colorado 80111). Once in that district, a search warrant will be sought so that
14
     these devices may be imaged by a forensic expert at HSI Denver (5445 DTC Parkway,
15
     Suite 600, Greenwood Village, Colorado 80111). This expert will be called to testify at
16
17 trial in the District of Colorado as to the examination and contents of these devices. To
18
     allow for the search to take place in the District of Colorado will alleviate the need for an
19
     expert in Washington to conduct the examination and be called to testify in and travel to
20
21 the District of Colorado.
22
                                           CONCLUSION
23
             3.    WHEREFORE, Your Affiant respectfully requests that this Court order that
24
     the Subject Devices, as set forth in Attachment B, may be seized from the location set
25
26
     //
27
28

                                                    7
Case 2:22-mc-00060-SKV Document 1 Filed 07/13/22 Page 11 of 11




                                       13th
